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  1                                    UNITED STATES BANKRUPTCY COURT

  2                    CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

  3   In re                                            Lead Case No. 2:18-bk-20151-ER
  4   VERITY HEALTH SYSTEM OF                          Jointly Administered With:
      CALIFORNIA, INC., et al.,
  5                                                    CASE NO.: 2:18-bk-20162-ER
                Debtor and Debtor In Possession.       CASE NO.: 2:18-bk-20163-ER
  6                                                    CASE NO.: 2:18-bk-20164-ER
      ☒ Affects All Debtors                            CASE NO.: 2:18-bk-20165-ER
  7                                                    CASE NO.: 2:18-bk-20167-ER
      ☐ Affects Verity Health System of                CASE NO.: 2:18-bk-20168-ER
  8   California, Inc.                                 CASE NO.: 2:18-bk-20169-ER
      ☐ Affects O’Connor Hospital                      CASE NO.: 2:18-bk-20171-ER
  9   ☐ Affects Saint Louise Regional Hospital         CASE NO.: 2:18-bk-20172-ER
      ☐ Affects St. Francis Medical Center             CASE NO.: 2:18-bk-20173-ER
 10   ☐ Affects St. Vincent Medical Center             CASE NO.: 2:18-bk-20175-ER
      ☐ Affects Seton Medical Center                   CASE NO.: 2:18-bk-20176-ER
 11   ☐ Affects O’Connor Hospital Foundation           CASE NO.: 2:18-bk-20178-ER
      ☐ Affects Saint Louise Regional Hospital         CASE NO.: 2:18-bk-20179-ER
 12         Foundation                                 CASE NO.: 2:18-bk-20180-ER
      ☐ Affects St. Francis Medical Center of          CASE NO.: 2:18-bk-20181-ER
 13     Lynwood Foundation                             Chapter 11 Cases
      ☐ Affects St. Vincent Foundation
 14   ☐ Affects St. Vincent Dialysis Center, Inc.      Hon. Judge Ernest M. Robles
      ☐ Affects Seton Medical Center Foundation
 15   ☐ Affects Verity Business Services               DECLARATION OF SERVICE BY
      ☐ Affects Verity Medical Foundation              KURTZMAN CARSON CONSULTANTS, LLC
 16   ☐ Affects Verity Holdings, LLC                   REGARDING DOCKET NUMBERS 2665, 2669,
      ☐ Affects De Paul Ventures, LLC                  2670, 2671, 2672 AND 2673
 17   ☐ Affects De Paul Ventures - San Jose
      Dialysis, LLC                                    [NO HEARING REQUIRED]
 18
                  Debtors and Debtors In Possession
 19
                  I, Travis R. Buckingham, do declare and state as follows:
 20
                  1.      I am a Consultant at Kurtzman Carson Consultants, LLC, the claims and noticing
 21
      agent for the debtor and debtor-in-possession Verity Health Systems of California, Inc. (the
 22
      “Debtor”), in the referenced chapter 11 bankruptcy case.
 23
                  2.      On July 3, 2019, at my direction and under my supervision, employees of KCC
 24
      caused to be served the following documents via Email upon the service list attached hereto as
 25
      Exhibit A; via First Class mail upon the service list attached hereto as Exhibit B; and via
 26
      Overnight mail upon the service list attached hereto as Exhibit C:
 27
 28

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  1              Berkeley Research Group, LLC's Ninth Monthly Fee Application for Allowance and
                  Payment of Interim Compensation and Reimbursement of Expenses for the Period May 1,
  2               2019 Through May 31, 2019 [Docket No. 2665]

  3              Omnibus Stipulation Continuing Hearing on Objections re Cure and Other Issues re
                  Order (A) Authorizing the Sale of Certain of the Debtors' Assets to Strategic Global
  4               Management, Inc. [...] [Docket No. 2669]

  5              Debtors' Notice and Motion for Approval of Compromise with the County of Los Angeles
                  Department of Mental Health Pursuant to Federal Rule of Bankruptcy Procedure 9019
  6               Nunc Pro Tunc; Declaration of Anita Chou in Support Thereof [Docket No. 2670]

  7              Supplement to the Notice of Ninth Monthly Fee Applications of Professionals Paid by the
                  Debtors for Allowance and Payment of Interim Compensation and Reimbursement of
  8               Expenses [Docket No. 2671]

  9              Supplemental Insurance Motion for Authorization to Make Capital Contribution to
                  Marillac Insurance Company, Ltd.; Memorandum of Points and Authorities and
 10               Declaration of Richard G. Adcock in Support Thereof [Docket No. 2672]

 11              Stipulation Between the Debtors, DHCS, and HHS Continuing Hearing Regarding
                  Transfer of Medi-Cal Provider Agreements and Medicare Provider Agreements to
 12               Strategic Global Management, Inc. [Related Docket Nos. 1572, 1879, 2278, 2377, 2606]
                  [Docket No. 2673]
 13

 14               3.     On July 3, 2019, at my direction and under my supervision, employees of KCC

 15   caused to be served the following documents via Email upon the service list attached hereto as

 16   Exhibit D; and via First Class mail upon the service list attached hereto as Exhibit E:

 17              Berkeley Research Group, LLC's Ninth Monthly Fee Application for Allowance and
                  Payment of Interim Compensation and Reimbursement of Expenses for the Period May 1,
 18               2019 Through May 31, 2019 [Docket No. 2665]

 19              Supplement to the Notice of Ninth Monthly Fee Applications of Professionals Paid by the
                  Debtors for Allowance and Payment of Interim Compensation and Reimbursement of
 20               Expenses [Docket No. 2671]

 21
                  4.     On July 3, 2019, at my direction and under my supervision, employees of KCC
 22
      caused to be served the following document via Email upon the service list attached hereto as
 23
      Exhibit F; and via First Class mail upon the service list attached hereto as Exhibit G:
 24
                 Omnibus Stipulation Continuing Hearing on Objections re Cure and Other Issues re
 25               Order (A) Authorizing the Sale of Certain of the Debtors' Assets to Strategic Global
                  Management, Inc. [...] [Docket No. 2669]
 26

 27
 28

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  1               5.     On July 3, 2019, at my direction and under my supervision, employees of KCC

  2   caused to be served the following document via First Class mail upon the service list attached

  3   hereto as Exhibit H:

  4              Debtors' Notice and Motion for Approval of Compromise with the County of Los Angeles
                  Department of Mental Health Pursuant to Federal Rule of Bankruptcy Procedure 9019
  5               Nunc Pro Tunc; Declaration of Anita Chou in Support Thereof [Docket No. 2670]
  6
                  6.     On July 3, 2019, at my direction and under my supervision, employees of KCC
  7
      caused to be served the following document via Email upon the service list attached hereto as
  8
      Exhibit I; and via First Class mail upon the service list attached hereto as Exhibit J:
  9
                 Stipulation Between the Debtors, DHCS, and HHS Continuing Hearing Regarding
 10               Transfer of Medi-Cal Provider Agreements and Medicare Provider Agreements to
                  Strategic Global Management, Inc. [Related Docket Nos. 1572, 1879, 2278, 2377, 2606]
 11               [Docket No. 2673]
 12
                  7.     I declare under penalty of perjury under the laws of the United States of America,
 13
      that the foregoing is true and correct and that if called upon as a witness, I could and would
 14
      competently testify thereto.
 15
                                Executed this 10th day of July, 2019, at El Segundo, CA.
 16
                                                               /s/ Travis R. Buckingham
 17
                                                               Travis R. Buckingham
 18

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                                                                               Exhibit A
                                                                         Core 2002 Service List
                                                                                 Email

            Party Description                            Creditor Name                          Creditor Notice Name                         Email
                                                                                      Attn: Paul Weller, Head of Provider
 Top 50 Creditor/Creditor Committee          Aetna Life Insurance Company             Litigation                              PDWELLER@AETNA.COM
 Attorneys for California Statewide          Allen Matkins Leck Gamble Mallory &
 Communities Development Authority           Natsis LLP                               Debra A. Riley, Esq.                    driley@allenmatkins.com
 Attorney for Sysco Los Angeles, Inc.        Arnall Golden Gregory LLP                Darryl S. Laddin                        darryl.laddin@agg.com
 Attorneys for Creditor SpecialtyCare
 Cardiovascular Resources, LLC               Baker & Hostetler LLP                    Lauren T. Attard                        lattard@bakerlaw.com

 Attorneys for Wells Fargo Bank, National                                             Attn: Dustin P. Branch, Esq. Nicholas   branchd@ballardspahr.com;
 Association, as indenture trustee        Ballard Spahr LLP                           M. Gross, Esq.                          grossn@ballardspahr.com
 Attorneys for Landlord Creditor
 Southeast Medical Center, LLC and
 Slauson Associates of Huntington Park,
 LLC                                      Ballard Spahr LLP                           Brain D. Huben, Michael S. Meyers       hubenb@ballardspahr.com

 Attorneys for Wells Fargo Bank, National                                             William P. Wassweiler, Esq. and Charles wassweilerw@ballardspahr.com;
 Association, as indenture trustee           Ballard Spahr LLP                        E. Nelson, Esq.                         nelsonc@ballardspahr.com
 Attorneys for Roche Diagnostics                                                                                              kevin.collins@btlaw.com;
 Corporation                                 Barnes & Thornburg LLP                   David M. Powlen, Kevin G. Collins       david.powlen@btlaw.com
 Attorneys for Roche Diagnostics
 Corporation                                 Barnes & Thornburg LLP                   Paul J. Laurin                          paul.laurin@btlaw.com
 Stationary Engineers Local 39 Trust -
 Defined Benefit Plan                        Bart Florence                                                                    bflorence@local39.org
                                                                                      Laurence W. Golberg Director,
                                             BDO USA, LLP                             Receivables Management                  lgoldberg@bdo.com
 Attorney for Universal Hospital Services,
 Inc.                                        Blakeley LLP                             Scott E. Blakeley                       seb@blakeleyllp.com
 Attorneys for United Nurses                                                                                                  jkohanski@bushgottlieb.com;
 Associations of California/Union of                                                  Attn: Joseph A. Kohanski, David E.      dahdoot@bushgottlieb.com;
 Health Care Professionals                   Bush Gottlieb, A Law Corporation         Ahdoot, Kirk M. Prestegard              kprestegard@bushgottlieb.com
 Top 50 Creditor/Creditor Committee;
 Attorneys for California Nurses                                                      Attn: Kyrsten Skogstad, In-House        kskogstad@calnurses.org;
 Association                                 California Nurses Association (CNA)      Counsel; Nicole J. Daro, Esq            ndaro@calnurses.org
 Top 50 Creditor/Creditor Committee;
 Attorneys for St. Vincent IPA Medical                                                                                        mneubauer@carltonfields.com;
 Corporation; Attorneys for Angeles IPA                                                                                       ljohnson@stvincentipa.com;
 A Medical Corporation                       Carlton Fields Jordan Burt, LLP          Mark Neubauer and Donald Kirk           dkirk@carltonfields.com
 Attorneys for Creditor St. Vincent IPA
 Medical Corporation; Attorneys for                                                                                            DKirk@carltonfields.com;
 Angeles IPA A Medical Corporation           Carlton Fields Jorden Burt PA            Donald R Kirk & John Ryan Yant           ryant@carltonfields.com
 Attorney's for Daly City                    City of Daly City                        Rose Zimmerman                           rzimmerman@dalycity.org
                                                                                                                               tania.moyron@dentons.com;
                                                                                      Samuel R. Maizel, John A. Moe, II, Tania samuel.maizel@dentons.com;
 Counsel for the Debtors                     Dentons US LLP                           M. Moyron                                john.moe@dentons.com

 Attorneys for Otsuka Pharmaceutical
 Development & Commercialization, Inc.       DLA Piper LLP (US)                       Eric D. Goldberg                        eric.goldberg@dlapiper.com

 Attorneys for Otsuka Pharmaceutical
 Development & Commercialization, Inc.       DLA Piper LLP (US)                       Jade M. Williams                        jade.williams@dlapiper.com
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                                                                                      Wendy M. Simkulak and Drew S.           DSMcGehrin@duanemorris.com;
 Attorneys for the Chubb Companies           Duane Morris LLP                         McGehrin                                WMSimkulak@duanemorris.com
                                             Felderstein Fitzgerald Willoughby &
 Attorneys for Toyon Associates, Inc.        Pascuzzi Llp                             Paul J. Pascuzzi                        ppascuzzi@ffwplaw.com
                                                                                      Attn: Michael A. Sweet, Nathan A.
 Attorneys for Swinerton Builders            Fox Rothschild LLP                       Schultz                                 msweet@foxrothschild.com
 Attorneys for Swinerton Builders            Fox Rothschild LLP                       Attn: Robert N. Amkraut, Esq            ramkraut@foxrothschild.com
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 Corporation                                 Gibbons P.C.                             Attn: David N. Crapo, Esq.              dcrapo@gibbonslaw.com
 Attorneys for Aetna Life Insurance
 Company                                     Gibson Dunn & Crutcher LLP               Jeffery C. Krause                       jkrause@gibsondunn.com
 Attorneys for Medical Anesthesia
 Consultants Medical Group, Inc.
 (MACMG)                                     Greenberg Traurig, LLP                   David Eastlake                          eastlaked@gtlaw.com
 Attorneys for Workday, Inc. and Medical
 Anesthesia Consultants Medical Group,
 Inc. (MACMG)                                Greenberg Traurig, LLP                   Michael R. Hogue                        hoguem@gtlaw.com
 Attorney for San Jose Medical Group,
 Inc.;Attorneys for Sports, Orthopedic and
 Rehabilitation Associates                   Hanson Bridgett LLP                      Neal L. Wolf                            NWolf@hansonbridgett.com
 Top 50 Creditor/Creditor Committee          Iris Lara                                c/o Trisha Monesi                       trisha.monesi@capstonelawyers.com

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                                                                                   Email

            Party Description                              Creditor Name                       Creditor Notice Name                           Email
 Attorneys for Sodexo, Inc. & Affiliates
 aka Sodexo CTM Biomed Srvs                  JD Thompson Law                          c/o Judy D. Thompson, Esq.              jdt@jdthompsonlaw.com

 Counsel to Nant Capital, LLC and                                                                                             bbennett@jonesday.com;
 NatWorks, LLC Series 2017 Noteholder        Jones Day                                Bruce Bennett,William J. Schumacher     wschumacher@jonesday.com
 Claims and Noticing Agent                   KCC                                      Andres A. Estrada                       verityinfo@kccllc.com
 Attorneys for the County of San Mateo       Keller & Benvenutti LLP                  Attn: Jane Kim                          jkim@kellerbenvenutti.com
 Attorneys for the County of San Mateo       Keller & Benvenutti LLP                  Attn: Peter J. Benvenutti, Jane Kim     jkim@kellerbenvenutti.com
 Counsel for GE HFS, LLC                     Kutak Rock LLP                           Lisa M. Peters                          lisa.peters@kutakrock.com
 Attorneys for Creditor, National Union of
 Healthcare Workers                          Law Office of Florice Hoffman. L.C.      Florice Hoffman                       fhoffman@socal.rr.com
 Attorneys for Interested Party Engineers                                                                                   sgroff@leonardcarder.com;
 and Scientists of California Local 20,                                               Shawn C. Groff, Mollie Simons, Andrew msimons@leonardcarder.com;
 IFPTE, and Its members                      Leonard Carder, LLP                      J. Ziaja                              aziaja@leonardcarder.com
 Attorneys for Ally Bank                     Loeb & Loeb LLP                          Lance N. Jurich, Esq                  ljurich@loeb.com

 Counsel to US Bank as Master
 Note/Bond Trustee; and US Bank
 National Association, as Series 2017
 Note Collateral Agent and Note Trustee      Maslon LLP                               Clark T Whitmore                        clark.whitmore@maslon.com
 Attorneys for U.S. Bank National
 Association, notindividually, but as                                                                                         jstrabo@mwe.com;
 Indenture Trustee                           McDermott Will & Emery                   Jason D. Strabo; James F. Owens         JFowens@mwe.com
 Counsel to US Bank as Master
 Note/Bond Trustee and Rosemawr
 Series 2015 Noteholder;Attorneys for
 U.S. Bank National Association, not
 individually, but as Indenture Trustee;
 Counsel to U.S. Bank National
 Association, as Series 2015 Note                                                     William Smith Nathan Coco Megan         Wsmith@mwe.com; ncoco@mwe.com;
 Collateral Agent an                         McDermott Will & Emery                   Preusker                                mpreusker@mwe.com
 Counsel for Santa Clara County              McDermott Will & Emery LLP               Gregory R. Jones                        gjones@mwe.com
 Counsel for Santa Clara County              McDermott Will & Emery LLP               James Kapp                              jkapp@mwe.com
 Top 50 Creditor/Creditor Committee          Medline Industries, Inc.                 Shane Reed                              SReed@medline.com
                                                                                                                              gbray@milbank.com;
                                                                                                                              mshinderman@milbank.com;
 Counsel for the Official Committee of                                                Gregory A. Bray, Mark Shinderman,       jbehrens@milbank.com;
 Unsecured Creditors of Verity Health                                                 James C. Behrens, Robert J. Liubicic    rliubicic@milbank.com;
 System of California, Inc., et al.          Milbank LLP                              and Alexandra Achamallah                aachamallah@milbank.com

 Counsel to Nuveen Series 2005 Bond
 holder; Attorneys for UMB Bank, N.A.,
 as Successor Master Trustee for the
 Master Indenture Obligations and Wells                                                                                       DSBleck@mintz.com; LWeiser-
 Fargo Bank, National Association, as        Mintz Levin Cohn Ferris Glovsky and      Attn: Daniel Bleck, Ian Hammel and      Varon@mintz.com;
 Series 2005 Bond Trustee                    Popeo, P.C.                              Leonard Weiser-Varon                    IAHammel@mintz.com

 Counsel to Nuveen Series 2005 Bond
 holder; Attorneys for UMB Bank, N.A.,
 as Successor Master Trustee for the
 Master Indenture Obligations and Wells
 Fargo Bank, National Association, as    Mintz Levin Cohn Ferris Glovsky and
 Series 2005 Bond Trustee                Popeo, P.C.                                  Attn: Paul J. Ricotta                   PJRicotta@mintz.com
 Prepetition Secured Creditor (2017
 Noteholder)                             NantWorks, LLC and Nant Capital, LLC         Charles Kim                             Charles.Kim@nantworks.com
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 Camino Medical Associates, P.C.         Nixon Peabody LLP                            Louis J. Cisz, III, Esq.                lcisz@nixonpeabody.com
 Counsel for Attorney General Xavier
 Becerra                                 Office of the Attorney General               Alicia Berry, Deputy Attorney General   alicia.berry@doj.ca.gov
 Deputy General Counsel to California
 Department of Health Care Services      Office of the California Attorney General    Department of Justice                   Kenneth.Wang@doj.ca.gov
                                         Pension Benefit Guaranty Corporation         Attn: Michael Strollo and Emily
 Top 50 Creditor/Creditor Committee      ("PBGC")                                     Lesniewski                              strollo.michael@pbgc.gov

 Counsel to Stryker Corporation, Stryker
 Endoscopy, Stryker Instruments, Stryker
 Medical, Stryker Neurovascular, Stryker
 Orthopaedics, Stryker Orthobiologies,
 Stryker Sales, Stryker Spine, Stryker
 Sustainability Solutions and Stryker
 Communications                          Purkey & Associates, P.L.C.                  c/o Lori L. Purkey, Esq                 purkey@purkeyandassociates.com


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            Party Description                            Creditor Name                          Creditor Notice Name                          Email

 Attorneys for Creditor O'Connor Health
 Center 1 a California Limited Partnership   Randick O'Dea & Tooliatos, LLP            Phillip G. Vermont                      pvermont@randicklaw.com
 Prepetition Secured Creditor (2015
 Noteholder)                                 RCB Equities #1 LLC                       Brian Dror / Zvi Ryzman                Brian@brdcpas.com
 Attorneys for Healthcare Transformation                                                                                      mhouston@reedsmith.com;
 Inc.                                        Reed Smith LLP                            Marsha A. Houston,Christopher O. Rivas crivas@reedsmith.com
 Counsel for Creditor Golden Gate
 Perfusion Inc.                              Resolution Law Firm P. C.                 Sheila Gropper Nelson, Esq.             shedoesbklaw@aol.com
 Attoreys For Creditor Delta Dental of
 California                                  Rimon, P.C.                          Phillip K. Wang, Esq.                        phillip.wang@rimonlaw.com
                                             Rosemawr Municipal Partners Fund LP,                                              gshlionsky@rosemawr.com;
 Prepetition Secured Creditor (2015          Rosemawr Capital II LP, RMA Capital  Greg Shlionsky Julie Morrone Elyse           jmorrone@rosemawr.com;
 Noteholder)                                 Partners LP                          Levesque                                     elevesque@rosemawr.com
                                                                                                                               SECBankruptcy-OGC-
 SEC Headquarters                            Securities & Exchange Commission          Secretary of the Treasury               ADO@SEC.GOV

 Top 50 Creditor/Creditor Committee          SEIU United Healthcare Workers West       Attn: David Miller                      dmiller@seiu-uhw.org
 Attorneys for Creditor RightSourcing,
 Inc.                                        Serlin & Whiteford, LLP                   Mark A. Serlin, Esq.                    ms@swllplaw.com
 Attorney for KForce, Inc.                   Shumaker, Loop, & Kendrick, LLP           Steven M. Berman                        sberman@slk-law.com
 Attorneys for Medical Office Buildings of                                                                                     agumport@sidley.com;
 California, LLC                             Sidley Austin LLP                         Anna Gumport John Patrick White         john.white@sidley.com
 Attorneys for Medical Office Buildings of                                                                                     mlinder@sidley.com;
 California, LLC                             Sidley Austin LLP                         Dennis M. Twomey,Matthew E. Linder      dtwomey@sidley.com
                                             Sodexo Operations, LLC, a Delaware
                                             Limited Liability Company Sodexo CTM
 Top 50 Creditor/Creditor Committee          LLC                                       Attn: Brad Hamman                       brad.hamman@sodexo.com
 Counsel for the Medical Staff of Seton                                                                                        Ecf@stjames-law.com;
 Medical Center                              St. James Law, P.C.                       Michael St. James, Esq.                 michael@stjames-law.com
                                                                                                                               mmortimer@sycr.com;
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 of its subsidiaries; Attorneys for Long                                               Glassman; Jeremy H. Rothstein;Fred      jrothstein@sycr.com;
 Beach Memorial Medical Center               Stradling Yocca Carlson & Rauth, P.C.     Neufeld                                 fneufeld@sycr.com
 Attorneys for Long Beach Memorial                                                     Paul R. Glassman, Esq. and Jeremy H.    virginia.housum@umb.com;
 Medical Center                              Stradling Yocca Carlson & Rauth, P.C.     Rothstein, Esq                          jrothstein@sycr.com
 Attorney for Creditor NTT DATA              Streusand, Landon, Ozburn & Lemmon,
 Services Holding Corporation                LLP                                   Sabrina L. Streusand                        streusand@slollp.com

 Attorneys for Gardena Hospital, L.P.,                                                                                         sschoeffel@tocounsel.com;
 Eladh, L.P., CPH Hospital Management,                                                 Scott Schoeffel, Eric J. Fromme, Adam   efromme@tocounsel.com;
 LLC, and CHHP Holdings II, LLC              Theodora Oringher PC                      G Wentland                              awentland@tocounsel.com
 Attorneys for Retirement Plan for
 Hospital Employees                          Trodella & Lapping LLP                    Richard A. Lapping                      Rich@TrodellaLapping.com
 Attorneys for the United States of
 America, on behalf of the U.S.
 Department of Health and Human              U.S. Department of Justice, Civil
 Services                                    Division                                  Seth B Shapiro                          seth.shapiro@usdoj.gov
 Successor Master Trustee for the
 Prepetition Secured Revenue Bonds,                                                    Attn.: Virginia Anne Housum, Senior     virginia.housum@umb.com;
 Series 2005 A, G and H                      UMB Bank, N.A.                            Vice President                          mark.kalla@umb.com
 Office of the United States Trustee         United States Trustee                     Hatty K Yip                             hatty.yip@usdoj.gov

 Note Trustee and Collateral Agent for
 the Revenue Bonds Series 2005 ("2005
 Bonds") and Series 2015 and 2017
 Revenue Notes (2015 and 2017
 collectively the “Working Capital Notes”) US Bank NA                                  Sandra Spivey, VP                       sandra.spivey@usbank.com
 Prepetition Secured Creditor (2005
 Bondholder)                               Van Eck Associates Corporation              Charles Cameron                         ccameron@vaneck.com

 Attorneys for Creditor NFS Leasing, Inc. Vedder Price P.C.                            Mitchell D. Cohen                       mcohen@vedderprice.com

 Attorneys for Creditor NFS Leasing, Inc. Vedder Price P.C.                            Scott H. Olson                          solson@vedderprice.com

 Attorneys for Messiahic Inc., a California                                                                                    nkoffroth@venable.com;
 corporation d/b/a PayJunction              Venable LLP                                Keith C. Owens, Nicholas A. Koffroth    kowens@venable.com
                                                                                                                               david.lemke@wallerlaw.com;
 Counsel to DIP Lender Ally Bank             Waller Lansden Dortch & Davis, LLP        David E. Lemke, Melissa W. Jones        melissa.jones@wallerlaw.com




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                                                                            Email

           Party Description                        Creditor Name                      Creditor Notice Name                    Email

 Attorneys for Stationary Engineers Local
 39;Attorneys for SEIU United Healthcare
 Workers-West;Attorneys for Creditor                                                                            bankruptcycourtnotices@unioncounsel.
 Stationary Engineers Local 39 Pension                                                                          net; erich@unioncounsel.net;
 Trust Fund and Stationary Engineers                                           c/o Emily P. Rich;Tracy L.       tmainguy@unioncounsel.net;
 Local 39 Health & Welfare Trust Fund     Weinberg Roger & Rosenfeld           Mainguy;Caitlin E. Gray          cgray@unioncounsel.net
                                                                                                                Mark.v.birkholz@wellsfargo.com;
 Bond Trustee - 2005 Bonds              Wells Fargo Bank, N.A.                 Mark V Birkholz;Corbin Connell   Corbin.B.Connell@wellsfargo.com
                                                                                                                ann.sandor@workday.com;
 Top 50 Creditor                        Workday, Inc.                          John Elrod;Ann Sandor            ElrodJ@gtlaw.com




In re VERITY HEALTH SYSTEM OF CALIFORNIA, INC., et al.,
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                                                                                                                First Class Mail

            Party Description                       Creditor Name              Creditor Notice Name                Address1                         Address2        Address3            City    State       Zip
                                           Aetna Life Insurance            Attn: Paul Weller, Head of
  Top 50 Creditor/Creditor Committee       Company                         Provider Litigation            1425 Union Meeting Rd.          Mail Stop U23S                       Blue Bell        PA      19422
  Attorneys for California Statewide       Allen Matkins Leck Gamble                                                                      600 West Broadway, 27th
  Communities Development Authority        Mallory & Natsis LLP            Debra A. Riley, Esq.           One America Plaza               Floor                                San Diego        CA      92101-0903
  Top 50 Creditor/Creditor Committee       Allscripts Healthcare LLC       c/o Greg Bianchi               5995 Windward Pkwy                                                   Alpharetta       GA      30005-4184
                                                                                                          171 17th Street NW, Suite
  Attorney for Sysco Los Angeles, Inc.     Arnall Golden Gregory LLP       Darryl S. Laddin               2100                                                                 Atlanta          GA      30363-1031
                                                                                                          California Department of
  Attorney General of California           Attorney General of California Xavier Becerra                  Justice                         1300 "I" Street                      Sacramento       CA      95814
  Office of the Attorney General of the    Attorney General of the United                                 950 Pennsylvania Avenue,
  United States                            States                         U.S. Department of Justice      NW                                                                   Washington       DC      20530-0001
  Attorneys for Creditor SpecialtyCare                                                                    11601 Wilshire Boulevard,
  Cardiovascular Resources, LLC            Baker & Hostetler LLP           Lauren T. Attard               Suite 1400                                                           Los Angeles      CA      90025-0509
  Attorneys for Wells Fargo Bank,
  National Association, as indenture                                       Attn: Dustin P. Branch, Esq.   2029 Century Park East, Suite
  trustee                                  Ballard Spahr LLP               Nicholas M. Gross, Esq.        800                                                                  Los Angeles      CA      90067-2909
  Attorneys for Landlord Creditor
  Southeast Medical Center, LLC and
  Slauson Associates of Huntington                                         Brain D. Huben, Michael S.     2029 Century Park East, Suite
  Park, LLC                                Ballard Spahr LLP               Meyers                         800                                                                  Los Angeles      CA      90067-2909
  Attorneys for Wells Fargo Bank,
  National Association, as indenture                                       William P. Wassweiler, Esq.
  trustee                                  Ballard Spahr LLP               and Charles E. Nelson, Esq.    2000 IDS Center                 80 South Eighth Street               Minneapolis      MN      55402
  Attorneys for Roche Diagnostics                                          David M. Powlen, Kevin G.
  Corporation                              Barnes & Thornburg LLP          Collins                        1000 N. West St., Suite 1500                                         Wilmington       DE      19801
  Attorneys for Roche Diagnostics                                                                         2029 Century Park E, Suite
  Corporation                              Barnes & Thornburg LLP          Paul J. Laurin                 300                                                                  Los Angeles      CA      90067
  Stationary Engineers Local 39 Trust -
  Defined Benefit Plan                     Bart Florence                                                  1620 North Market Blvd                                               Sacramento       CA      95834
  Attorney for Universal Hospital                                                                         18500 Von Karman Avenue,
  Services, Inc.                           Blakeley LLP                    Scott E. Blakeley              Suite 530                                                            Irvine           CA      92612
  Attorneys for United Nurses                                              Attn: Joseph A. Kohanski,
  Associations of California/Union of      Bush Gottlieb, A Law            David E. Ahdoot, Kirk M.       801 North Brand Boulevard,
  Health Care Professionals                Corporation                     Prestegard                     Suite 950                                                            Glendale         CA      91203
  California Department of Health Care     California Department of                                       1501 Capitol Avenue, Suite
  Services                                 Health Care Services            Jennifer Kent, Director        4510                                                                 Sacramento       CA      95814
  California Secretary of State            California Secretary of State                                  1500 11th Street                                                     Sacramento       CA      95814
                                           California State Board of
  California State Board of Pharmacy       Pharmacy                                                       1625 North Market Boulevard                                          Sacramento       CA      95834
  Top 50 Creditor/Creditor Committee;
  Attorneys for St. Vincent IPA Medical
  Corporation; Attorneys for Angeles IPA Carlton Fields Jordan Burt,       Mark Neubauer and Donald       2000 Avenue of the Stars
  A Medical Corporation                  LLP                               Kirk                           Suite 530N                                                           Los Angeles      CA      90067-4707

  Attorneys for Creditor St. Vincent IPA
  Medical Corporation; Attorneys for                                     Donald R Kirk & John Ryan        4221 W Boy Scout Blvd Ste
  Angeles IPA A Medical Corporation        Carlton Fields Jorden Burt PA Yant                             1000                                                                 Tampa            FL      33607-5780
  Attorney's for Daly City                 City of Daly City             Rose Zimmerman                   City Attorney's Office          333 90th Street                      Daly City        CA      94015
  Attorneys for Creditor NFS Leasing,      Devaney Pate Morris &
  Inc.                                     Cameron, LLP                  c/o Lesley A. Riis               402 W. Broadway, Suite 1300                                          San Diego        CA      92101
  Attorneys for Otsuka Pharmaceutical
  Development & Commercialization,
  Inc.                                     DLA Piper LLP (US)              Eric D. Goldberg               2000 Avenue of the Stars        Suite 400 North Tower                Los Angeles      CA      90067-4704




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            Party Description                       Creditor Name            Creditor Notice Name                 Address1                         Address2   Address3         City      State       Zip
  Attorneys for Otsuka Pharmaceutical
  Development & Commercialization,
  Inc.                                      DLA Piper LLP (US)            Jade M. Williams           444 W. Lake Street, Suite 900                                       Chicago         IL      60606-0089
                                                                                                     865 S. Figueroa Street, Suite
  Attorneys for the Chubb Companies         Duane Morris LLP              Jeff D. Kahane             3100                                                                Los Angeles     CA      90017-5450
                                                                          Wendy M. Simkulak and Drew
  Attorneys for the Chubb Companies         Duane Morris LLP              S. McGehrin                30 S. 17th Street                                                   Philadelphia    PA      19103
                                            Employment Development
  Employment Development Dept.              Dept.                                                       722 Capitol Mall                                                 Sacramento      CA      95814
                                            Engineers and Scientists of
  Engineers and Scientists of California    California IFPTE Local 20
  IFPTE Local 20 AFL-CIO & CLC              AFL-CIO & CLC                 Danielle Lucido Chief Counsel 810 Clay St                                                      Oakland         CA      94607
                                            Felderstein Fitzgerald
  Attorneys for Toyon Associates, Inc.      Willoughby & Pascuzzi Llp     Paul J. Pascuzzi             400 Capitol Mall, Suite 1750                                      Sacramento      CA      95814
                                                                          Attn: Michael A. Sweet,      345 California Street, Suite
  Attorneys for Swinerton Builders          Fox Rothschild LLP            Nathan A. Schultz            2200                                                              San Francisco   CA      94104

  Attorneys for Swinerton Builders          Fox Rothschild LLP            Attn: Robert N. Amkraut, Esq 1001 Fourth Ave. Suite 4500                                       Seattle         WA      98154
  Attorneys for Creditor, Sharp
  Electronics Corporation                   Gibbons P.C.                  Attn: David N. Crapo, Esq.   One Gateway Center                                                Newark          NJ      07102-5310
  Attorneys for Aetna Life Insurance
  Company                                   Gibson Dunn & Crutcher LLP Jeffery C. Krause               333 South Grand Avenue                                            Los Angeles     CA      90071-3197
  Attorneys for Medical Anesthesia
  Consultants Medical Group, Inc.
  (MACMG)                                   Greenberg Traurig, LLP        David Eastlake                1000 Louisana Street            Suite 1700                       Houston         TX      77002
  Attorneys for Workday, Inc. and
  Medical Anesthesia Consultants                                                                        Four Embarcadero Center,
  Medical Group, Inc. (MACMG)               Greenberg Traurig, LLP        Michael R. Hogue              Suite 3000                                                       San Francisco   CA      94111

  Attorney for San Jose Medical Group,
  Inc.;Attorneys for Sports, Orthopedic
  and Rehabilitation Associates             Hanson Bridgett LLP           Neal L. Wolf                 425 Market Street, 26th Floor                                     San Francisco   CA      94105
  Attorneys for Smith & Nephew,                                                                        550 South Hope Street, Suite
  Inc.;C.R Bard, Inc. and Subsidiaries      Hunton Andrews Kurth LLP      Kevin M. Eckhardt            2000                                                              Los Angeles     CA      90071
  IRS                                       Internal Revenue Service      Attn Susanne Larson          31 Hopkins Plz Rm 1150                                            Baltimore       MD      21201
                                                                          Centralized Insolvency
  IRS                                       Internal Revenue Service      Operation                     P.O. Box 7346                                                    Philadelphia    PA      19101-7346

  IRS                                       Internal Revenue Service                                    300 North Los Angeles Street                                     Los Angeles     CA      90012
  IRS                                       Internal Revenue Service                                    600 Arch Street                                                  Philadelphia    PA      19101
                                                                                                        1875 Century Park East, Suite
  Top 50 Creditor/Creditor Committee        Iris Lara                     c/o Trisha Monesi             100                                                              Los Angeles     CA      90067

  Attorneys for Sodexo, Inc. & Affiliates
  aka Sodexo CTM Biomed Srvs                JD Thompson Law               c/o Judy D. Thompson, Esq.   PO Box 33127                                                      Charlotte       NC      28233
  Counsel to Nant Capital, LLC and
  NatWorks, LLC Series 2017                                               Bruce Bennett,William J.
  Noteholder                                Jones Day                     Schumacher                   555 South Flower Street          Fiftieth Floor                   Los Angeles     CA      90071
                                                                                                       650 California Street, Suite
  Attorneys for the County of San Mateo Keller & Benvenutti LLP           Attn: Jane Kim               1900                                                              San Francisco   CA      94108
                                                                          Attn: Peter J. Benvenutti,   650 California Street, Suite
  Attorneys for the County of San Mateo Keller & Benvenutti LLP           Jane Kim                     1900                                                              San Francisco   CA      94108
  Counsel for GE HFS, LLC               Kutak Rock LLP                    Lisa M. Peters               1650 Farnam St                                                    Omaha           NE      68102




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            Party Description                      Creditor Name               Creditor Notice Name             Address1                      Address2         Address3          City     State       Zip
  Attorneys for Creditor, National Union    Law Office of Florice Hoffman.                            8502 E. Chapman Avenue,
  of Healthcare Workers                     L.C.                           Florice Hoffman            Suite 353                                                           Orange          CA      92869

  Attorneys for Interested Party
  Engineers and Scientists of California                                 Shawn C. Groff, Mollie
  Local 20, IFPTE, and Its members          Leonard Carder, LLP          Simons, Andrew J. Ziaja      1330 Broadway, Ste 1450                                             Oakland         CA      94612
                                                                                                      10100 Santa Monica Blvd.,
  Attorneys for Ally Bank                   Loeb & Loeb LLP              Lance N. Jurich, Esq         Suite 2200                                                          Los Angeles     CA      90067-4120
                                            Los Angeles County Tax
  Los Angeles County Tax Collector          Collector                                                 PO Box 54110                                                        Los Angeles     CA      90054-0110
  Counsel to US Bank as Master
  Note/Bond Trustee; and US Bank
  National Association, as Series 2017
  Note Collateral Agent and Note
  Trustee                                   Maslon LLP                   Clark T Whitmore             3300 Wells Fargo Center        90 South Seventh Street              Minneapolis     MN      55402
  Attorneys for U.S. Bank National
  Association, notindividually, but as                                   Jason D. Strabo; James F.    2049 Century Park East, 38th
  Indenture Trustee                         McDermott Will & Emery       Owens                        Floor                                                               Los Angeles     CA      90067-3218
  Counsel to US Bank as Master
  Note/Bond Trustee and Rosemawr
  Series 2015 Noteholder;Attorneys for
  U.S. Bank National Association, not
  individually, but as Indenture Trustee;
  Counsel to U.S. Bank National
  Association, as Series 2015 Note                                       William Smith Nathan Coco
  Collateral Agent an                       McDermott Will & Emery       Megan Preusker               444 West Lake St              Suite 4000                            Chicago         IL      60606-0029
                                                                                                      2049 Century Park East, Suite
  Counsel for Santa Clara County            McDermott Will & Emery LLP Gregory R. Jones               3800                                                                Los Angeles     CA      90067-3218
                                                                                                      444 West Lake Street, Suite
  Counsel for Santa Clara County            McDermott Will & Emery LLP James Kapp                     4000                                                                Chicago         IL      60606-0029
  Top 50 Creditor/Creditor Committee        Medline Industries, Inc.   Shane Reed                     Three Lakes Drive                                                   Northfield      IL      60093
                                                                       Gregory A. Bray, Mark
  Counsel for the Official Committee of                                Shinderman, James C.
  Unsecured Creditors of Verity Health                                 Behrens, Robert J. Liubicic    2029 Century Park East, 33rd
  System of California, Inc., et al.        Milbank LLP                and Alexandra Achamallah       Floor                                                               Los Angeles     CA      90067
  Counsel to Nuveen Series 2005 Bond
  holder; Attorneys for UMB Bank, N.A.,
  as Successor Master Trustee for the
  Master Indenture Obligations and
  Wells Fargo Bank, National                                             Attn: Daniel Bleck, Ian
  Association, as Series 2005 Bond          Mintz Levin Cohn Ferris      Hammel and Leonard Weiser-
  Trustee                                   Glovsky and Popeo, P.C.      Varon                      One Financial Center                                                  Boston          MA      02111
  Counsel to Nuveen Series 2005 Bond
  holder; Attorneys for UMB Bank, N.A.,
  as Successor Master Trustee for the
  Master Indenture Obligations and
  Wells Fargo Bank, National
  Association, as Series 2005 Bond          Mintz Levin Cohn Ferris
  Trustee                                   Glovsky and Popeo, P.C.      Attn: Paul J. Ricotta        666 Third Avenue                                                    New York        NY      10017
  Prepetition Secured Creditor (2017        NantWorks, LLC and Nant
  Noteholder)                               Capital, LLC                 Charles Kim                  9920 Jefferson Boulevard                                            Culver City     CA      90232

  Attorneys for El Camino Hospital and                                                                One Embarcadero Center,
  El Camino Medical Associates, P.C.        Nixon Peabody LLP            Louis J. Cisz, III, Esq.     32nd Floor                                                          San Francisco   CA      94111



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            Party Description                      Creditor Name              Creditor Notice Name                 Address1                            Address2             Address3         City      State       Zip
  Counsel for Attorney General Xavier                                     Alicia Berry, Deputy Attorney   300 South Spring Street, Suite
  Becerra                                  Office of the Attorney General General                         1702                                                                         Los Angeles     CA      90013
                                                                                                                                           455 Golden Gate Ave., Suite
  Office of the Attorney General           Office of the Attorney General Consumer Law Section            Attn Bankruptcy Notices          11000                                       San Francisco   CA      94102

  Deputy General Counsel to California     Office of the California                                                                        300 South Spring Street, Suite
  Department of Health Care Services       Attorney General               Department of Justice           Kenneth K. Wang                  1702                                        Los Angeles     CA      90013
                                           Office of the California                                                                        300 South Spring Street, Floor
  Office of the CA Attorney General        Attorney General               Department of Justice           Jennifer Kim                     9                                           Los Angeles     CA      90013
                                           Pension Benefit Guaranty       Attn: Michael Strollo and Emily
  Top 50 Creditor/Creditor Committee       Corporation ("PBGC")           Lesniewski                      1200 K Street, NW                                                            Washington      DC      20005
  Attorneys for Quadramed Affinity
  Corporation and Picis Clinical                                                                          30 Rockefeller Plaza, 22nd
  Solutions Inc.                           Perkins Coie LLP               Schuyler G. Carroll             Floor                                                                        New York        NY      10112-0085


  Counsel to Stryker Corporation,
  Stryker Endoscopy, Stryker
  Instruments, Stryker Medical, Stryker
  Neurovascular, Stryker Orthopaedics,
  Stryker Orthobiologies, Stryker Sales,
  Stryker Spine, Stryker Sustainability                                                                   5050 Cascade Road, SE,
  Solutions and Stryker Communications     Purkey & Associates, P.L.C.    c/o Lori L. Purkey, Esq         Suite A                                                                      Grand Rapids    MI      49546
  Attorneys for Creditor O'Connor Health
  Center 1 a California Limited            Randick O'Dea & Tooliatos,
  Partnership                              LLP                            Phillip G. Vermont              5000 Hopyard Road                Suite 225                                   Pleasanton      CA      94588
  Prepetition Secured Creditor (2015                                                                      5967 West 3rd Street, Suite
  Noteholder)                              RCB Equities #1 LLC            Brian Dror / Zvi Ryzman         102                                                                          Los Angeles     CA      90036

  Attorneys for Healthcare                                                Marsha A.                    355 South Grand Avenue,
  Transformation Inc.                      Reed Smith LLP                 Houston,Christopher O. Rivas Suite 2900                                                                      Los Angeles     CA      90071-1514
  Counsel for Creditor Golden Gate
  Perfusion Inc.                           Resolution Law Firm P. C.      Sheila Gropper Nelson, Esq.     50 Osgood Place, 5th Fl.                                                     San Francisco   CA      94133
  Attoreys For Creditor Delta Dental of                                                                   One Embarcadero Center,
  California                               Rimon, P.C.                    Phillip K. Wang, Esq.           Suite 400                                                                    San Francisco   CA      94111

                                           Rosemawr Municipal Partners
  Prepetition Secured Creditor (2015       Fund LP, Rosemawr Capital II   Greg Shlionsky Julie Morrone 810 Seventh Avenue, 27th
  Noteholder)                              LP, RMA Capital Partners LP    Elyse Levesque               Floor                                                                           New York        NY      10019
                                           Securities & Exchange
  SEC Headquarters                         Commission                     Secretary of the Treasury       100 F St NE                                                                  Washington      DC      20549
                                           Securities and Exchange
  SEC                                      Commission                                                     200 Vesey Street, #400                                                       New York        NY      10281
                                           SEIU United Healthcare
  Top 50 Creditor/Creditor Committee       Workers West                   Attn: David Miller              560 Thomas L Berkeley Way                                                    Oakland         CA      94612-1602
  Attorneys for Creditor RightSourcing,
  Inc.                                     Serlin & Whiteford, LLP     Mark A. Serlin, Esq.               701 E Street                                                                 Sacramento      CA      95814
                                           Shumaker, Loop, & Kendrick,                                    101 E. Kennedy Blvd., Suite
  Attorney for KForce, Inc.                LLP                         Steven M. Berman                   2800                                                                         Tampa           FL      33602
  Attorneys for Medical Office Buildings                               Anna Gumport John Patrick          555 West Fifth Street Suite
  of California, LLC                       Sidley Austin LLP           White                              4000                                                                         Los Angeles     CA      90013
  Attorneys for Medical Office Buildings                               Dennis M. Twomey,Matthew
  of California, LLC                       Sidley Austin LLP           E. Linder                          One South Dearborn Street                                                    Chicago         Il      60603




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            Party Description                      Creditor Name                Creditor Notice Name                  Address1                      Address2                    Address3            City    State       Zip
                                             Sodexo Operations, LLC, a
                                             Delaware Limited Liability                                     2301 Maitland Center Pkwy
  Top 50 Creditor/Creditor Committee         Company Sodexo CTM LLC          Attn: Brad Hamman              Ste 350                                                                        Maitland         FL      32751-7417
  Counsel for the Medical Staff of Seton
  Medical Center                             St. James Law, P.C.             Michael St. James, Esq.        22 Battery Street, Suite 888                                                   San Francisco    CA      94111
  State of California Board of
  Equalization - All Other Service and       State of California Board of    Account Information Group,
  Bankruptcy Notices                         Equalization                    MIC: 29                        P.O. Box 942879                                                                Sacramento       CA      94279-0029
  State of California Board of
  Equalization - Service of Adversary        State of California Board of
  Proceedings                                Equalization                    Executive Director             450 N Street, MIC: 73                                                          Sacramento       CA      95814-0073
  State of California Board of
  Equalization - Bankruptcy Code             State of California Board of    Special Operations
  Section 505 Requests                       Equalization                    Bankruptcy Team MIC: 74        P.O. Box 942879                                                                Sacramento       CA      94279-0074
                                             State of California
  State of California Employment             Employment Development
  Development Department                     Department                      Bankruptcy Group MIC 92E       P. O. Box 826880                                                               Sacramento       CA      94280-0001
  State of California Franchise Tax
  Board - Bankruptcy Code Section 505
  Requests and All Other Service and         State of California Franchise   Franchise Tax Board
  Notices                                    Tax Board                       Bankruptcy Section             MS: A-340                      P. O. Box 2952                                  Sacramento       CA      95812-2952
  State of California Franchise Tax
  Board - Service of Adversary               State of California Franchise   Franchise Tax Board Chief
  Proceedings                                Tax Board                       Counsel                        c/o General Counsel Section    P.O. Box 1720               MS: A-260           Rancho Cordova CA        95741-1720
  State of California Franchise Tax          State of California Franchise                                  300 South Spring Street,
  Board                                      Tax Board                                                      #5704                                                                          Los Angeles      CA      90013

  Attorneys for Premier, Inc., and certain                                   Attn: Marianne S. Mortimer;
  of its subsidiaries; Attorneys for Long    Stradling Yocca Carlson &       Paul R. Glassman; Jeremy H.    100 Wilshire Boulevard, 4th
  Beach Memorial Medical Center              Rauth, P.C.                     Rothstein;Fred Neufeld         Floor                                                                          Santa Monica     CA      90401
  Attorneys for Long Beach Memorial          Stradling Yocca Carlson &       Paul R. Glassman, Esq. and     100 Wilshire Boulevard, 4th
  Medical Center                             Rauth, P.C.                     Jeremy H. Rothstein, Esq       Floor                                                                          Santa Monica     CA      90401
  Attorney for Creditor NTT DATA             Streusand, Landon, Ozburn &                                    1801 S. Mopac Expressway,
  Services Holding Corporation               Lemmon, LLP                 Sabrina L. Streusand               Suite 320                                                                      Austin           TX      78746
  Attorneys for Gardena Hospital, L.P.,
  Eladh, L.P., CPH Hospital
  Management, LLC, and CHHP                                                  Scott Schoeffel, Eric J.       535 Anton Boulevard, 9th
  Holdings II, LLC                           Theodora Oringher PC            Fromme, Adam G Wentland        Floor                                                                          Costa Mesa       CA      92626-7109
  Attorneys for Retirement Plan for
  Hospital Employees                         Trodella & Lapping LLP          Richard A. Lapping            540 Pacific Avenue                                                              San Francisco    CA      94133
  U.S. Department of Health & Human          U.S. Department of Health &                                   200 Independence Avenue,
  Services                                   Human Services                  Alex M. Azar II, Secretary    S.W.                                                                            Washington       DC      20201
  U.S. Department of Health and Human        U.S. Department of Health       Angela M. Belgrove, Assistant Office of the General Counsel,
  Services                                   and Human Services              Regional Counsel              Region IX                      90 7th Street, Suite 4-500                       San Francisco    CA      94103-6705
  Attorneys for the United States of
  America, on behalf of the U.S.
  Department of Health and Human             U.S. Department of Justice,                                    1100 L Street, N.W., Room
  Services                                   Civil Division               Seth B Shapiro                    7114, Seventh Floor                                                            Washington       DC      20005
                                             U.S. Securities and Exchange                                   444 South Flower Street,
  SEC                                        Commission                   Attn: Bankruptcy Counsel          Suite 900                                                                      Los Angeles      CA      90071-9591
  Successor Master Trustee for the
  Prepetition Secured Revenue Bonds,                                         Attn.: Virginia Anne Housum,
  Series 2005 A, G and H                     UMB Bank, N.A.                  Senior Vice President          UMB Financial Corporation      120 Sixth Street South      Suite 1400          Minneapolis      MN      55402




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            Party Description                    Creditor Name                Creditor Notice Name                   Address1                           Address2                      Address3                  City     State       Zip
                                          United States Attorney’s
  United States of America                Office                                                           Federal Building                 Room 7516                        300 North Los Angeles Street Los Angeles    CA      90012

  United States Attorney’s Office         United States Attorneys Office Central District of California    312 North Spring Street          Suite 1200                                                   Los Angeles     CA      90012

  United States Attorney's Office         United States Attorneys Office Northern District of California   Federal Courthouse               450 Golden Gate Avenue                                       San Francisco   CA      94102

  United Stated Attorney's Office         United States Attorneys Office Northern District of California   150 Almaden Boulevard            Suite 900                                                    San Jose        CA      95113
                                          United States Department of
  Attorney General                        Justice                        Ben Franklin Station              P. O. Box 683                                                                                 Washington      DC      20044

  Office of the United States Trustee     United States Trustee           Hatty K Yip                      Office of the UST/DOJ            915 Wilshire Blvd., Suite 1850                               Los Angeles     CA      90017
  Note Trustee and Collateral Agent for
  the Revenue Bonds Series 2005
  ("2005 Bonds") and Series 2015 and
  2017 Revenue Notes (2015 and 2017
  collectively the “Working Capital
  Notes”)                                 US Bank NA                      Sandra Spivey, VP                Nevada Financial Center          2300 W. Sahara Ste 200                                       Las Vegas       NV      89102
  Attorneys for Creditor NFS Leasing,
  Inc.                                    Vedder Price P.C.               Mitchell D. Cohen                1633 Broadway, 31st Floor                                                                     New York        NY      10019
  Attorneys for Creditor NFS Leasing,
  Inc.                                    Vedder Price P.C.               Scott H. Olson                   275 Battery Street, Suite 2464                                                                San Francisco   CA      94111
  Attorneys for Messiahic Inc., a
  California corporation d/b/a                                            Keith C. Owens, Nicholas A.      2049 Century Park East, Suite
  PayJunction                             Venable LLP                     Koffroth                         2300                                                                                          Los Angeles     CA      90067
                                          Waller Lansden Dortch &         David E. Lemke, Melissa W.
  Counsel to DIP Lender Ally Bank         Davis, LLP                      Jones                            511 Union Street, Ste 2700                                                                    Nashville       TN      37219
  Attorneys for Stationary Engineers
  Local 39;Attorneys for SEIU United
  Healthcare Workers-West;Attorneys
  for Creditor Stationary Engineers Local
  39 Pension Trust Fund and Stationary
  Engineers Local 39 Health & Welfare                                c/o Emily P. Rich;Tracy L.            1001 Marina Village Parkway,
  Trust Fund                              Weinberg Roger & Rosenfeld Mainguy;Caitlin E. Gray               Suite 200                                                                                     Alameda         CA      94501-1091
                                                                     Jeffrey K. Carlson or Current
  Wells Fargo Bank, N.A., Bond Trustee Wells Fargo Bank, N.A.        Officer                               608 Second Avenue South                                                                       Minneapolis     MN      55402
                                                                     Mark V Birkholz;Corbin
  Bond Trustee - 2005 Bonds               Wells Fargo Bank, N.A.     Connell                               600 4th St. 6th Floor            MAC N9300-060                                                Minneapolis     MN      55415
  Top 50 Creditor                         Workday, Inc.              John Elrod;Ann Sandor                 6110 Stoneridge Mall Road                                                                     Pleasanton      CA      94588




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                                                                                    Chambers Service List
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  Party Description             Creditor Name                Creditor Notice Name                Address1                             Address2                    City    State    Zip
                                                                                    Edward R. Roybal Federal Building and
 Chambers             USBC Central District of California   Ernest M. Robles        U.S. Courthouse                       255 East Temple Street, Suite 1560   Los Angeles CA     90012




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                                                   Debtor Service List
                                                         Email
                          Creditor Name                             Creditor Notice Name          Email
  Verity Health System of California, Inc.; Verity Holdings, LLC   Elspeth Paul          ElspethPaul@Verity.org




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                               Exhibit E
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                                                                      Debtor Service List
                                                                       First Class Mail
                             Creditor Name                              Creditor Notice Name          Address1               City   State Zip
     Verity Health System of California, Inc.; Verity Holdings, LLC    Elspeth Paul          2040 East Mariposa Avenue   El Segundo CA   90245




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                                Exhibit F
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                                                                             Exhibit F
                                                                     Omnibus Stipulation Parties
                                                                           Service List
                                                                              Email

               Party Description                          Creditor Name                      Creditor Notice Name                        Email
  Attorneys for NTT DATA Services                                                                                           nsandoval@bmkattorneys.com;
  Holding Corporation and Attorneys for                                             David M Guess & Nancy J Sandoval &      dguess@bmkattorneys.com;nreinhar
  Medtronic USA, Inc                          Bienert Katzman PLC                   Nathan W. Reinhardt                     dt@bmkattorneys.com
  Attorneys for Philips Medical Capital       Glass & Goldberg                      Marshall F. Goldberg                    mgoldber@glassgoldberg.com
  Attorneys for Cigna Healthcare of
  California, Inc. and Life Insurance
  Company of North America                    Gordon Rees Scully Mansukhani LLP     William M Rathbone                      wrathbone@grsm.com

  Counsel to Health Net of California, Inc.   Katten Muchin Rosenman LLP            William B. Freeman                      bill.freeman@kattenlaw.com
  Attorneys for Abbott Laboratories Inc.
  and Alere Informatics, Inc.                 Kohner, Mann & Kailas, S.C.           Samuel C. Wisotzkey                     swisotzkey@kmksc.com
  Attorneys for Kaiser Foundation
  Hospitals                                   Lesnick Prince & Pappas LLP           Christopher E. Prince                      cprince@lesnickprince.com
                                                                                    Karl E. Block, Daniel B. Besikof, and Lisa lrubin@loeb.com;kblock@loeb.com;d
  Counsel to SCAN Health Plan                 Loeb & Loeb LLP                       E. Rubin                                   besikof@loeb.com
  Attorney for Aetna Life Insurance
  Company                                     McGuire Woods LLP                     Payam Khodadadi                         pkhodadadi@mcguirewoods.com
  Attorneys for Quadramed Affinity
  Corporation and Picis Clinical Solutions
  Inc. and Parallon Revenue Cycle
  Services, Inc. f/k/a The Outsource                                                Schuyler G. Carroll & Amir Gamliel &    scarroll@perkinscoie.com;agamliel@
  Group, Inc.                                 Perkins Coie LLP                      John Penn                               perkinscoie.com
  Attorneys for the UnitedHealthcare
  Insurance Company, AppleCare Medical
  Group, Inc, AppleCare Medical Group,
  St. Francis; and AppleCare Medical
  Management LLC                              Shipman & Goodwin LLP                 Eric Goldstein, Latonia Williams        egoldstein@goodwin.com
  Counsel for DaVita Inc.                     Winsten Law Group                     Michael S. Winsten                      mike@winsten.com




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                                Exhibit G
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                                                                                   Omnibus Stipulation Parties Service List
                                                                                                          First Class Mail


                     Party Description                                 Creditor Name             Creditor Notice Name                    Address1                          Address2                 City       State      Zip

Attorney for Aetna Life Insurance Company                       McGuire Woods LLP            Payam Khodadadi                 1800 Century Park East, 8th Fl                                    Los Angeles     CA      90067-1501
Attorneys for Abbott Laboratories Inc. and Alere Informatics,                                                                Washington Building Barnabas
Inc.                                                       Kohner, Mann & Kailas, S.C.   Samuel C. Wisotzkey                 Business Center                     4650 N. Port Washington Rd.   Milwaukee       WI      53212-1059
Attorneys for Cigna Healthcare of California, Inc. and LifeGordon Rees Scully Mansukhani
Insurance Company of North America                         LLP                           William M Rathbone                  101 W Broadwa Ste 2000                                            San Diego       CA      92101
Attorneys for Kaiser Foundation Hospitals                  Lesnick Prince & Pappas LLP   Christopher E. Prince               315 W. Ninth Street, Suite 705                                    Los Angeles     CA      90015
                                                                                         David M Guess & Nancy J
Attorneys for NTT DATA Services Holding Corporation and                                  Sandoval & Nathan W.
Attorneys for Medtronic USA, Inc                           Bienert Katzman PLC           Reinhardt                            903 Calle Amanecer Ste 350                                       San Clemente CA         92673
Attorneys for Philips Medical Capital                      Glass & Goldberg              Marshall F. Goldberg                 22917 Burbank Blvd.                                              Woodland Hills CA       91367-4203
Attorneys for Quadramed Affinity
Corporation and Picis Clinical Solutions Inc. and Parallon
Revenue Cycle Services, Inc. f/k/a The Outsource Group,                                  Schuyler G. Carroll & Amir           1888 Century Park East, Suite
Inc.                                                       Perkins Coie LLP              Gamliel & John Penn                  1700                                                             Los Angeles     CA      90067

Attorneys for the UnitedHealthcare Insurance Company,
AppleCare Medical Group, Inc, AppleCare Medical Group,
St. Francis; and AppleCare Medical Management LLC               Shipman & Goodwin LLP        Eric Goldstein, Latonia Williams One Constitution Plaza                                           Hartford        CT      06103-1919
Counsel for DaVita Inc.                                         Winsten Law Group            Michael S. Winsten                27201 Puerta Real, Suite 140                                    Mission Viejo   CA      92691
Counsel for Experian Health Inc fka Passport Health                                          Joseph D. Frank, Karen V.
Communications Inc                                              Frank Gecker LLP             Newbury                           325 North LaSalle Street, #625                                  Chicago         IL      60654
                                                                                                                               515 South Flower Street
Counsel to Health Net of California, Inc.                       Katten Muchin Rosenman LLP   William B. Freeman                Suite 1000                                                      Los Angeles     CA      90071-2212
                                                                                             Karl E. Block, Daniel B. Besikof, 10100 Santa Monica Blvd., Suite
Counsel to SCAN Health Plan                                     Loeb & Loeb LLP              and Lisa E. Rubin                 2200                                                            Los Angeles     CA      90067-4120




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                                Exhibit H
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                                                  Los Angeles County - Department of Mental Health Service List
                                                                        First Class Mail

            Creditor Name                Creditor Notice Name                   Address1                     Address2                   City     State    Zip
 County of Los Angeles - Depatment of                              Contracts Development and
 Mental Health                          Attn: Chief of Contracts   Administration Division       550 South Vermont Ave., 5th Floor   Los Angeles CA      90020




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                                 Exhibit I
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                                                                    Exhibit I
                                    Counsel to U.S Department of Health and Human Services Party Service List
                                                                      Email

                    Party Description                            Creditor Name                  Creditor Notice Name                 Email

 Attorneys for U.S. Department of Health and Human                                       Nicola T. Hanna, David M. Harris,
 Services and Centers for Medicare and Medicaid Services United States Attorney Office   Joanne S. Osinoff, Elan S. Levey    Elan.levey@usdoj.gov




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                                Exhibit J
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                                                                         Counsel to U.S Department of Health and Human Services Party Service List
                                                                                                        First Class Mail

                    Party Description                             Creditor Name                      Creditor Notice Name                       Address1                       Address2                City    State    Zip

 Attorneys for U.S. Department of Health and Human                                         Nicola T. Hanna, David M. Harris, Joanne S.
 Services and Centers for Medicare and Medicaid Services   United States Attorney Office   Osinoff, Elan S. Levey                      Room 7516, Federal Building   300 North Los Angeles Street   Los Angeles CA     90012




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                        2335 Alaska Ave, El Segundo, CA 90245

A true and correct copy of the foregoing document entitled (specify): Declaration of Service by Kurtzman Carson
Consultants, LLC Regarding Docket Numbers 2665, 2669, 2670, 2671, 2672 and 2673 will be served or was served
(a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date), I
checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons
are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date), I served the following persons and/or entities at the last known addresses in this bankruptcy case or adversary
proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage
prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
completed no later than 24 hours after the document is filed.



                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on July 10, 2019, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

VIA OVERNIGHT
USBC Central District of California
Ernest M. Robles
Edward R. Roybal
Federal Building and U.S. Courthouse
255 East Temple Street, Suite 1560
Los Angeles, CA 90012


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 July 10, 2019                Travis R. Buckingham                                                   /s/ Travis R. Buckingham
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
